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                              AMENDED MINUTES



 CASE NUMBER:              1:19-cr-00105-SOM-1
 CASE NAME:                USA v. (01)Liane Wilson also known as Liana Shanti
 ATTY FOR PLA:             Michael David Nammar
 ATTY FOR DEFT:            Howard K.K. Luke


       JUDGE:       Susan Oki Mollway               REPORTER:          Debi Read

       DATE:        05/10/2021                      TIME:              1:30pm-2:15pm

These minutes will replace minutes entered in ECF No. 42:

COURT ACTION: EP: Video Teleconference(VTC) Motion to Withdraw Not Guilty
Plea and to Plead Anew as to Defendant (01)Liane Wilson also known as Liana Shanti.

Defendant (01)Liane Wilson also known as Liana Shanti is not in custody and present via
VTC.

Court conducted a colloquy with Defendant. Defendant consents to appear via VTC.

Court finds this hearing cannot be further delayed without causing serious harm to the
interest of justice.

Defendant sworn, questioned by the Court. Memorandum of Plea Agreement signatures
verified and filed, acceptance deferred until after review of the presentence report. Court
informs Defendant of sentencing guidelines, possible departure from sentencing
guidelines, supervised release, etc.

Government stated the maximum and minimum penalties provided by law.

Defendant advised of her rights, including her right to trial by jury, etc.

Government stated the essential elements of the crimes as charged.

Government summarized the evidence it would present if the case went to trial.

Guilty plea to Count 1 of the *Indictment.
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Court accepts the guilty plea, and the defendant is adjudged guilty.

Referred for presentence investigation and report, and sentencing is set for October 18,
2021 at 1:30 p.m. before the Honorable Susan Oki Mollway

Defendant to remain out on current conditions of pretrial release.

All pending dates and deadlines are vacated.




Submitted by: Theresa Lam, Courtroom Manager
